Case 2:22-mb-09303-ESW Document 4 Filed 09/09/22 Page 1 of 8

A093 Search and Seizure Warrant

UNITED STATES DISTRICT COURT
am AL Yi for the
pura . District of Arizona

In the Matter of the Search of Case No, 22-9303 MB
iPhone 13 ProMax, IMEI 3529964356345303, Assigned
Telephone Number (602) 884-4771. (Filed Under Seal)

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search of the
following person or property located in the District of Arizona:

As further described in Attachment A-4.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property described above, and that such search will reveal:

As set forth in Attachment B.

YOU ARE COMMANDED to execute this warrant on or before ai2022 (not to exceed 14 days)

in the daytime 6:00 a.m. to 10:00 p.m. LD at any time in the day or night as I find reasonable cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken
to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where
the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to any United States Magistrate Judge on
criminal duty in the District of Arizona.

O11 find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),
and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be searched or
seized O for _30_ days (not to exceed 30) O until, the facts justifying, the later specific date of

8/22/2022@8:06pm P | | Wath
Date and time issued:
Judge’s signature

City and state: Phoenix, Arizona Honorable Eileen S. Willett, U.S. Magistrate Judge
Printed name and title
Case 2:22-mb-09303-ESW Document 4 Filed 09/09/22 Page 2 of 8

ATTACHMENT A-4

PHONE

iPhone 13 ProMax, IMEI 3529964356345303, assigned telephone number (602) 884-4771.
Case 2:22-mb-09303-ESW Document 4 Filed 09/09/22 Page 3 of 8

ATTACHMENT B

(RESIDENCE, VEHICLE, SAFETY DEPOSIT BOX, PHONE, AND ELECTRONIC

STORAGE MEDIA )

Property to be seized

1.

All items relating to violations of 18 U.S.C. § 1958 and 18 U.S.C. § 373, involving

ALI JOSEPH, and others known and unknown, occurring between July 4, 202! and present,

including:

Records and information relating to communications, including emails, text
messages, direct messages, voicemails, encrypted communications and associated
meta data regarding child custody issues with or about the VICTIM, listed in the
Search Warrant Affidavit;

Records and information relating to communications, including emails, text
messages, direct messages, voicemails, encrypted communications and associated
meta data regarding disagreements with the VICTIM regarding raising of ALI
JOSEPH’s children;

Records and information including photographs of the VICTIM and any documents
reflecting the name, address, vehicle description, or vehicle license plate of the
VICTIM;

Records and information relating to communications, including emails, text
messages, direct messages, voicemails, encrypted communications and associated
meta data discussing causing harm to the VICTIM;

Records and information relating to communications, including emails, text
messages, direct messages, voicemails, encrypted communications and associated

meta data regarding murder-for-hire plan targeting the VICTIM;
Case 2:22-mb-09303-ESW Document 4 Filed 09/09/22 Page 4 of 8

f. Records and information, including papers, writings, documents, and data either to,
from, or found in the possession of ALI JOSEPH regarding a murder-for-hire plan
targeting the VICTIM;

g. Records and information relating to motive for the murder-for-hire plan targeting
the VICTIM, including any articulated grievances with the VICTIM;

h. Records and information relating to online searches of hiring an individual to
commit murder, committing murder with a vehicle, committing murder by
stabbing, death, causing accidental deaths, muggings, and robberies;

i. Records and information showing any descriptions, plans, photographs, and/or
writings related to threats or violence against the VICTIM;

j. Records and information reflecting the hiring or payment to any person for services
related to locating, threatening, or harming the VICTIM;

k. Records and information relating to financial transactions for payment to any
person for services related to locating, threatening, or harming the VICTIM;

|. Records and information depicting photos or videos of surveillance of the VICTIM;

m. Records and information relating to international travel by ALI JOSEPH and/or his
children;

n. All cellular telephones maintained, controlled, utilized, or possessed by ALI
JOSEPH, and/or located at the property to be searched, to the extent that this not
addressed below; and

o. Computers, devices and electronic storage media used as a means to commit the

violations described above.

2. For any computer or electronic storage medium whose seizure is otherwise
authorized by these warrants, and any computer or electronic storage medium that contains or in
which is stored records or information that is otherwise called for by these warrants (hereinafter,

“COMPUTER?”):
Case 2:22-mb-09303-ESW Document 4 Filed 09/09/22 Page 5 of 8

k.

Evidence of who used, owned, or controlled the COMPUTER at the time the things
described in these warrants were created, edited, or deleted, such as logs, registry
entries, configuration files, saved usernames and passwords, documents, browsing
history, user profiles, email, email contacts, “chat,” instant messaging logs,
photographs, and correspondence;

Evidence of software that would allow others to contro! the COMPUTER, such as
viruses, Trojan horses, and other forms of malicious software, as well as evidence
of the presence or absence of security software designed to detect malicious
software;

Evidence of the lack of such malicious software;

Evidence indicating how and when the computer was accessed or used to determine
the chronological context of computer access, use, and events relating to crime
under investigation and to the computer user;

Evidence indicating the computer user’s state of mind as it relates to the crimes
under investigation;

Evidence of the attachment to the COMPUTER of other storage devices or similar
containers for electronic evidence;

Evidence of counter-forensic programs (and associated data) that are designed to
eliminate data from the COMPUTER;

Evidence of the times the COMPUTER was used;

Passwords, encryption keys, and other access devices that may be necessary to
access the COMPUTER;

Documentation and manuals that may be necessary to access the COMPUTER or
to conduct a forensic examination of the COMPUTER;

Records of or information about Internet Protocol addresses used by the

COMPUTER;
Case 2:22-mb-09303-ESW Document 4 Filed 09/09/22 Page 6 of 8

|. Records of or information about the COMPUTER’s Internet activity, including
firewall logs, caches, browser history and cookies, “bookmarked” or “favorite” web
pages, search terms that the user entered into any Internet search engine, and
records of user-typed web addresses; and

m. Contextual information necessary to understand the evidence described in this

attachment.

3, Evidence of user attribution showing who used or owned the Device at the time the
things described in these warrants were created, edited, or deleted, such as logs, phonebooks, saved
usernames and passwords, documents, and browsing history;

4, Records evidencing the use of the Internet Protocol addresses to communicate with
others regarding child custody issues, locating, threatening, or harming the VICTIM, including:

a. records of Internet Protocol addresses used; and

b. records of Internet activity, including firewall logs, caches, browser history
and cookies, “bookmarked” or “favorite” web pages, search terms that the user entered into
any Internet search engine, and records of user-typed web addresses.

5. Routers, modems, and network equipment used to connect computers to the

internet.

As used above, the terms “records” and “information” includes all forms of creation or
storage, including any form of computer or electronic storage (such as hard disks or other media
that can store data); any handmade form (such as writing); any mechanical form (such as printing
or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,
videotapes, motion pictures, or photocopies).

The term “computer” includes all types of electronic, magnetic, optical, electrochemical,

or other high speed data processing devices performing logical, arithmetic, or storage functions,
Case 2:22-mb-09303-ESW Document 4 Filed 09/09/22 Page 7 of 8

including desktop computers, notebook computers, mobile phones, tablets, server computers, and
network hardware.

The term “storage medium” includes any physical object upon which computer data can
be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and
other magnetic or optical media.

During the execution of the search of the RESIDENCE, the VEHICLE, the SAFETY
DEPOSIT BOX and the PHONE described in Attachments A-1, A-2, A-3, and A-4, law
enforcement personnel are authorized to (1) press or swipe the fingers (including thumbs) of any
individual, who is found at the RESIDENCE, the VEHICLE, and the SAFETY DEPOSIT BOX
and reasonably believed by law enforcement to be a user of a device found at the premises, to the
fingerprint scanner of the device; (2) hold a device found at the premises in front of the face those
same individuals and activate the facial recognition feature, for the purpose of attempting to unlock
the device in order to search the contents as authorized by this warrant.

These warrants authorize a review of electronic storage media and electronically stored
information seized or copied pursuant to these warrants in order to locate evidence, fruits, and
instrumentalities described in these warrants. The review of this electronic data may be conducted
by any government personnel assisting in the investigation, who may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, and technical
experts. Pursuant to these warrants, the FBI may deliver a complete copy of the seized or copied
electronic data to the custody and control of attorneys for the government and their support staff

for their independent review.
Case 2:22-mb-09303-ESW Document 4 Filed 09/09/22 Page 8 of 8

 

AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

 

RETURN
Case No.: Date and Time Warrant Executed: Copy of warrant and inventory left with:
77-9 6 -Q- 202.2. Wil We Aivern te dense
~ 15 OSme THT am Mime 4/2 /o p95

 

 

 

Inventory Made in the Presence of:

Danielu williams + adv Elx\nannouss|

 

Inventory of the property taken and name of any person(s) seized:

\prone 13 Promax imei: 35 299GUUZ DOU 5303
SEMA Number? RYZPOZNMY%S

 

CERTIFICATION

 

 

] declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

 

Date 0/24 / 2022 / AA

“Executing officer's signature

Daniels Williams, Special feavit FB)

Printed name and title

 

 

 
